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                  EXHIBIT 14
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1                       UNITED STATES DISTRICT COURT

2                   FOR THE WESTERN DISTRICT OF NEW YORK

3     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

4     BLACK LOVE RESISTS IN THE RUST, et al.,

5     individually and on behalf of a class of

6     all others similarly situated,

7                                         Plaintiffs,

8     vs.                                                  1:18-cv-00719-CCR

9     CITY OF BUFFALO, N.Y.,       et al.,

10                                        Defendants.

11    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

12                   ORAL EXAMINATION OF MICHAEL QUINN

13                            APPEARING REMOTELY FROM

14                              ORANGE, CALIFORNIA

15

16                             Friday, April 1, 2022

17                            10:57 a.m. - 2:17 p.m.

18                              pursuant to notice

19

20

21    REPORTED BY:

22    Luanne K. Howe

23    APPEARING REMOTELY FROM CUYAHOGA COUNTY, OHIO
     Case 1:18-cv-00719-CCR   Document 219-14   Filed 07/12/24   Page 3 of 5   2


1                    R E M O T E     A P P E A R A N C E S

2

3     APPEARING FOR THE PLAINTIFFS:

4           WESTERN NEW YORK LAW CENTER, INC.
            BY: KEISHA ALECIA WILLIAMS, ESQ.
5           Cathedral Park Tower
            37 Franklin Street, Second Floor
6           Buffalo, New York 14203
            716-855-0203
7
            NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
8           BY: KARINA TEFF, ESQ.
            50 Broadway, Suite 1500
9           New York, New York 10004
            212-633-6967
10
      APPEARING FOR THE DEFENDANTS:
11
            HODGSON RUSS LLP
12          BY: PETER SAHASRABUDHE, ESQ.
            140 Pearl Street, Suite 100
13          Buffalo, New York 14202
            716-848-1508
14

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     Case 1:18-cv-00719-CCR   Document 219-14   Filed 07/12/24   Page 4 of 5   16


1             the Strike Force?

2       A     About eight -- a little bit over eight years.

3       Q     And was that your position throughout your time with

4             the Strike Force?

5       A     Yes, it was.

6       Q     What were your primary duties in this position?

7       A     Supervision of the patrol officers, supervision of

8             the checkpoints.     I had some administrative duties

9             such as filling out the payroll, fielding calls from

10            the, you know, higher-ups regarding what they wanted

11            done.

12      Q     Okay.    And how long were you -- how long were you

13            with the Strike Force?

14      A     Until it was disbanded in March of 2018.

15      Q     And after the Strike Force was disbanded, were you

16            transferred to another unit?

17      A     Yes.    I was transferred to the Traffic Division.

18      Q     And do you know why the Strike Force was disbanded?

19                            MR. SAHASRABUDHE:     Form.

20      A     We were never given a reason.

21      Q     Are you still with the BPD?

22      A     No, I'm not.

23      Q     What did you do after leaving the BPD --
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1             checkpoint?

2       A     There could be anywhere from as few as eight to as

3             many as 16.

4       Q     And on days that you had 16, would that be a

5             combination of both platoons?

6       A     Yes.

7       Q     Were there tow trucks usually at the checkpoints?

8       A     No.

9       Q     Would there be police vehicles, cars, et cetera?

10      A     Yes, there would.

11      Q     And was there usually at least one lieutenant at each

12            checkpoint?

13      A     Usually, yes.

14      Q     Is it possible that you could have as many as four at

15            the checkpoints?

16                            MR. SAHASRABUDHE:     Form.

17      A     Yes.

18      Q     In your experience, how long did a typical checkpoint

19            last?

20      A     Probably 30 to 40 minutes, sometimes as much as an

21            hour.

22      Q     And generally how many cars would pass through a

23            checkpoint?
